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                        IN THE UNITED STATES DISTRICT COURT
                            IN THE DISTRICT OF NEW JERSEY

                                   :           Civil Action
 William Adoff                     :
                                   :           No.: 1:14-CV-03364-RMB-JS
                Plaintiff,         :
                                   :           NOTICE OF VOLUNTARY
                v.                 :           DISMISSAL PURSUANT TO F.R.C.P.
                                   :           41(a)(1)(A)(i)
 Robert Irvin Roth, et al.,        :
                                   :
                Defendants.        :


     NOTICE OF VOLUNTARY DISMISSAL PURSUANT TO F.R.C.P. 41(a)(1)(A)(i)

        Pursuant to F.R.C.P. 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure, Plaintiff
 through undersigned counsel, hereby gives notice that the above-captioned action is voluntarily
 dismissed, without prejudice, against the defendants.

                              HANAMIRIAN, GARIBIAN & KRANJAC, P.C.

                              /s/ Antranig N. Garibian
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 October 18, 2014
